Case 1:04-CV-Oll45-RL.]-egb Document 16 Filed 05/25/05 Page 1 of S/LF/F_age|[§/G
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IN THE UNITED sTATE DISTRICT CoURT 053/9 "'\\_ gp
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EASTERN DIVISION ”V 3

AT JACKSON

 

THIDA WHIRLEY and JOE WHIRLEY
as Parents and Next of Kin of WILLIAM
MORTON WHIRLEY and Thida Whirley
as Administratrix of the Estate of William
Morton Whirley,

No.: 04-1145-T/AN
Plaintiffs,

V.

KAWASAKI MOTORS CORPORATION,

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)
§
USA, and JIM BENNETT KAWASAKI, )
)
)

Defendants.

ORDER PARTIALLY AMENDING SCHEDULING ORDER
The parties having moved the court for an Order Partially Amending the Scheduling Order,
and the court finding Said Motion to be Well taken, it is
ORDERED and ADJUDGED that the Scheduling Order be amended to read as follows, to
Wit:
COMPLETING ALL DISCOVERY:
(b) EXPERT DISCLOSURE (Rule 26(a)(2)):
(i) Plaintiff’s Experts: July 20, 2005
(ii) Defendant’s Experts: August 18, 2005
(c) DEPOSITIONS: November 21, 2005
FILING DISPOSITIVE MOTIONS: December 21, 2005
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S. Thomas Anderson
U.S. Magistrate Judge

in compliance

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Case 1:O4-CV-01145-RL.]-egb Document 16 Filed 05/25/05 Page 2 of 3 Page|D 27

APPROVED FOR ENTRY:

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This notice confirms a copy of the document docketed as number 16 in
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Honorable J ames Todd
US DISTRICT COURT

